Case 3:12-mj-02547-DEA            Document 109         Filed 02/26/13      Page 1 of 2 PageID: 295


                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

                                                                                  tJo
UNITED STATES OF AMERICA                        :      Honorable Douglas Arpeil                4

          v.                                    :      Mag. No. 12-2547 (DA)

SCOTT MAZZARA

                                                       ORDER FOR CONTiNUANCE


        This matter having been opened to the Court by Paul J. Fishman, United States Attorney for

the District of New Jersey (Jonathan W. Romankow, Assistant U.S. Attorney, appearing), and

defendant SCOTT MAZZARA (Michael Baldassare, Esq., appearing), for an order granting a

continuance of the proceedings in the above-captioned matter; and four continuances having

previously been granted; and the defendant being aware that he has the right to have the matter

presented to a Grand Jury within thirty (30) days of the date of his arrest pursuant to Title 18 U.S.C.

§ 3161; and the defendant through his attorney having waived such rights and consented to the
continuance; and for good and sufficient cause shown,

       IT IS THE FINDING OF THIS COURT that this action should be continued for the

following reasons:

                1. Plea negotiations currently are in progress, and both the United States and the

       defendant desire additional time to enter a plea in Court, which would thereby render trial

       of this matter unnecessary.

               2. Defendant has consented to the aforementioned continuance.

               3. The grant of a continuance will likely conserve judicial resources.

               4. Pursuant to Title 18 of the United States Code, Section 3161(h)(7)(A), the ends

       ofjustice served by granting the continuance outweigh the best interests of the public and the

       defendants in a speedy trial.
   Case 3:12-mj-02547-DEA               Document 109        Filed 02/26/13         Page 2 of 2 PageID: 296


          WHEREFORE, on this day of                                    ,   2013;

          ORDERED that the proceedings in the abovecaptioned matter are continued from Februaiy

   19, 2013 through April 19, 2013; and it is further

          ORDERED that the period between from Februaiy 19, 2013 through April 19, 2013 shall be

   excludable in computing time under the Speedy Trial Act of 1974.

                                                             I
                                                   (


                                             HON. DOUGLS ARiRT
                                             United States Mgstrfl!e Judge




   Form and entry
   condIo:



1’ JONAThANROMANKO
                            F

                                W   F
                                        /
/ Assjstant U.S. Attorney
    /
     /   --




“MlcAEL BLDASSARE, Esq.                  -




 Counsel for defendant Scott Mazzara
